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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

   In re:                                        )     Case No. 09-45523
                                                 )
   Bruce E. Hopson and                           )     Chapter 7
   Linda K. Hopson                               )
                                                 )
                   Debtors-Movants,              )      Motion to Avoid Lien
                                                 )     Pursuant to
   vs.                                           )     11 U.S.C. 522(f)(1)(A) and
                                                 )     11 U.S.C. 522(f)(2)(A)
   US Bank NA,                                   )
                                                 )     Motion No. _________
                   Respondent.                   )

               MOTION TO AVOID LIEN AGAINST EXEMPT PROPERTY
                 UNDER SECTION 522(f) AND NOTICE OF MOTION

        PLEASE TAKE NOTICE: ANY RESPONSIVE PLEADING IN
   OPPOSITION TO THIS MOTION/PLEADING MUST BE FILED IN WRITING
   NO LATER THAN TWENTY (20) DAYS FROM THE DATE OF SERVICE OF
   THIS MOTION/ PLEADING AS SHOWN ON THE CERTIFICATE OF
   SERVICE. (See L.B.R. 9013-1 b.; 9061-1 B) THE RESPONSE MUST BE
   IMMEDIATELY SERVED UPON THE UNDERSIGNED AND UPON ALL
   ENTITIES DESCRIBED IN L.B.R. 9013-1 A. THE COURT MAY GRANT THE
   MOTION/PLEADING WITHOUT FURTHER NOTICE TO ANY PARTY UPON
   EXPIRATION OF THE RESPONSE PERIOD IF NO RESPONSE IF FILED.

        IF A RESPONSE OR OBJECTION IS FILED, THE MOVANT,
   APPLICANT OR CLAIM OBJECTOR SHALL SET THE MATTER FOR
   HEARING AND PROVIDE NOTICE THEREOF TO THE RESPONDENT AND
   ALL ENTITIES DESCRIBED IN L.B.R. 9013-1 A.
            COME NOW Debtors, Bruce and Linda Hopson, by and through their attorney,

   pursuant to Fed.R.Bank.P 4003(d), Fed.R.Bank.P 9014, and Local Bankruptcy Rule

   4003-2B, and for their Motion to Avoid Lien, states as follows:

            1. That the Creditor-Respondent, US Bank NA has a judicial lien in the amount

   of $7,601.00 that attached against the real property of Debtors located at 8525 Vasel Ave.

   St. Louis, Missouri on or about January 19, 2005, which is held as the primary residence

   for the Debtors herein.
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          2. That the judicial lien of the Creditor-Respondent impairs an exemption

   authorized under RSMo § 513.475, which Debtors would have been entitled under the

   laws of the State of Missouri, that such exemptions have been claimed by the Debtors in

   this case in the amount of $15,000.00, and have been allowed.

          3. That the fair market value of Debtors’ real estate located at 8525 Vasel Ave.

   St. Louis, Missouri is no more than $90,000.00. (See Schedule A)

          4. “The owner of real estate may testify to the fair market value of his land even

   though he does not qualify as an expert. The owner has the benefit of a presumption that

   he is familiar with the property and has a basis for his opinion of its fair market value.”

   See Mo. Ex Rel Mo. Highway & Transportation Comm’n v. Menley, 778 S.W.2d 10,11

   (Mo. App. 1989).
          5. Pursuant to 11 U.S.C. 522(f)(2)(A), the total value of all non-avoidable liens

   encumbering said property, Respondent’s judgment lien, and the “Homestead

   Exemption” embodied in RSMo. 513.475, exceed the value of the real property by more

   than the value of Respondent’s judgment lien standing alone.


          Citimortgage (1st) Mortgage:                                   $55,547.95
          US Bank (2nd) Mortgage:                                        $10,213.00
          Midwest Bank Center                                            $110,000.00
          Respondent’s Judgment Lien:                                    $7,601.00
          Missouri Homestead Exemption:                                  $ 15,000.00
          TOTAL OF LIENS, JUDGMENT & EXEMPTION                           $198,361.95

          *$198,361.95 - $90,000.00 = $-108,361.95


          6. That the Debtors are entitled to avoid the judicial lien of Creditor-Respondent

   in Debtors’ real estate, under the provisions of 11 U.S.C. 522(f)(1)(A) and 11 U.S.C.

   522(f)(2)(A).
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          WHEREFORE, the Debtors pray the Court enter an Order granting Debtors’

   Motion to Avoid Lien Against Exempt Property Under Section 522(f)(1)(A) and

   522(f)(2)(A), and to avoid the lien of Creditor-Respondent in the real estate of Debtors

   located at 8525 Vasel Ave. St. Louis, Missouri.



                           Respectfully Submitted,



                         By:/s/ Robert J. Lawson
                          David N. Gunn, EDMO #502943; MO #54880
                          Robert J. Lawson, #551534, #51935
                          Samuel E. Shepley, #5200471
                          Attorneys for Debtor
                          1600 South Brentwood, Suite 725
                          St. Louis, MO 63144
                          Telephone: (314) 961-9822
                          Fax: (314) 961-9825
                          E-mail: stlouis@tbcwam.com
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                               CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing Motion and Notice
   were served upon the persons listed below by first class mail, postage prepaid, on this
   23rd day of September, 2009.

                                                /s/ Melissa M. Collins
                                                Melissa M. Collins


   Via cm/ecf

   Thomas O'Loughlin II
   1736 N. Kingshighway
   Cape Girardeau, MO 63701

   Office of U.S. Trustee
   111 South Tenth Street
   Suite 6353
   St. Louis, MO 63102


   Via regular mail

   CT Corporation Systems
   120 S. Central Ave.
   Clayton, MO 63105
   (Registered Agent for Respondent)
